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                           EXHIBIT

                              TAB 1
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      TAB 1: TABLE OF FEES OF THE CLERK

      Date                            Description                          Amount

    5/23/2020   $400 fee advanced by Netlist’s legal courier service        $400.00
                (First Legal) for filing the case ($350 filing fee under
                28 U.S.C. § 1914(a) plus administrative fee for filing in a
                District Court).
   Subtotal                                                                 $400.00
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